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                                       Memorandum of Agreement Between the Florida Department of
EPA‐HQ‐OW‐2018‐0640‐0018               Environmental Protection and the United States Environmental            Memorandum                https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0018
                                       Protection Agency
                                       Memorandum of Agreement Between the Florida Department of
EPA‐HQ‐OW‐2018‐0640‐0019                                                                                       Memorandum                https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0019
                                       Environmental Protection and the Department of the Army
EPA‐HQ‐OW‐2018‐0640‐0020               Cover Page and Table of Contents on Federal Statutes and Policies       Program Request           https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0020
EPA‐HQ‐OW‐2018‐0640‐0020‐A1            Attachment 1: CWA Section 404(b)(1) Guidelines (30 CFR 230)             Support Attachment        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0020



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                                       Attachment 2: CWA Section 404(g) Regulations on State and Tribal
EPA‐HQ‐OW‐2018‐0640‐0020‐A2                                                                               Support Attachment          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0020
                                       Section 404 Program Assumption
                                       Attachment 3: National Historic Preservation Act Section 106
EPA‐HQ‐OW‐2018‐0640‐0020‐A3                                                                               Support Attachment          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0020
                                       Implementing Regulations at 36 CFR Part 800
EPA‐HQ‐OW‐2018‐0640‐0020‐A4            Attachment 4: The National Historic Preservation Act               Support Attachment          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0020
EPA‐HQ‐OW‐2018‐0640‐0021               Comment submitted by C. Reilly                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0021
EPA‐HQ‐OW‐2018‐0640‐0022               Comment submitted by Tori A. (no surname provided)                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0022
                                       Comment submitted by Tanya Portillo, Executive Director, Florida
EPA‐HQ‐OW‐2018‐0640‐0023                                                                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0023
                                       Electric Power Coordinating Group (FCG)
EPA‐HQ‐OW‐2018‐0640‐0023‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0023
EPA‐HQ‐OW‐2018‐0640‐0024               Comment submitted by V. Weiss                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0024
EPA‐HQ‐OW‐2018‐0640‐0025               Comment submitted by J. Wiggs                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0025
EPA‐HQ‐OW‐2018‐0640‐0026               Comment submitted by A. Taylor                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0026
EPA‐HQ‐OW‐2018‐0640‐0026‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0026
EPA‐HQ‐OW‐2018‐0640‐0027               Comment submitted by J. and R. Promin                              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0027
EPA‐HQ‐OW‐2018‐0640‐0027‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0027
EPA‐HQ‐OW‐2018‐0640‐0028               Comment submitted by M. Gale                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0028
EPA‐HQ‐OW‐2018‐0640‐0028‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0028
EPA‐HQ‐OW‐2018‐0640‐0029               Comment submitted by P. Burke                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0029
EPA‐HQ‐OW‐2018‐0640‐0029‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0029
EPA‐HQ‐OW‐2018‐0640‐0030               Comment submitted by R. Hall                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0030
EPA‐HQ‐OW‐2018‐0640‐0030‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0030
EPA‐HQ‐OW‐2018‐0640‐0031               Comment submitted by R. A. Gibbons                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0031
EPA‐HQ‐OW‐2018‐0640‐0031‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0031
                                       Comment submitted by Rainer W. Schael, President, RS Environmental
EPA‐HQ‐OW‐2018‐0640‐0032                                                                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0032
                                       Consulting, Inc.
EPA‐HQ‐OW‐2018‐0640‐0032‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0032
EPA‐HQ‐OW‐2018‐0640‐0033               Comment submitted by G. Goepper                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0033
EPA‐HQ‐OW‐2018‐0640‐0033‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0033
EPA‐HQ‐OW‐2018‐0640‐0034               Comment submitted by S. Terranova                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0034
EPA‐HQ‐OW‐2018‐0640‐0034‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0034
EPA‐HQ‐OW‐2018‐0640‐0035               Comment submitted by T. Crew                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0035
EPA‐HQ‐OW‐2018‐0640‐0035‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0035
EPA‐HQ‐OW‐2018‐0640‐0036               Comment submitted by T. E. Storch                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0036
EPA‐HQ‐OW‐2018‐0640‐0036‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0036
EPA‐HQ‐OW‐2018‐0640‐0037               Anonymous public comment                                           Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0037
EPA‐HQ‐OW‐2018‐0640‐0038               Comment submitted by Z. Tosteson Losada                            Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0038
EPA‐HQ‐OW‐2018‐0640‐0039               Comment submitted by L. Bening                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0039
EPA‐HQ‐OW‐2018‐0640‐0040               Anonymous public comment                                           Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0040
EPA‐HQ‐OW‐2018‐0640‐0041               Comment submitted by J. Koehler                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0041
EPA‐HQ‐OW‐2018‐0640‐0042               Comment submitted by P. Street                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0042
EPA‐HQ‐OW‐2018‐0640‐0043               Comment submitted by W. Gardner                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0043
EPA‐HQ‐OW‐2018‐0640‐0044               Comment submitted by S. Chiappetta                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0044
EPA‐HQ‐OW‐2018‐0640‐0045               Anonymous public comment                                           Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0045
EPA‐HQ‐OW‐2018‐0640‐0046               Anonymous public comment                                           Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0046
EPA‐HQ‐OW‐2018‐0640‐0047               Comment submitted by H. Elko                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0047
EPA‐HQ‐OW‐2018‐0640‐0048               Comment submitted by L. Donahoe                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0048
                                       Comment submitted by Frank C. Walker, III, Vice President of
EPA‐HQ‐OW‐2018‐0640‐0049                                                                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0049
                                       Government Affairs, Florida Chamber of Commerce
EPA‐HQ‐OW‐2018‐0640‐0049‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0049




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                                       Comment submitted by Ariel Hoover, Chair, Lee County Chapter
EPA‐HQ‐OW‐2018‐0640‐0050                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0050
                                       Climate Reality
                                       Comment submitted by Bonnie Malloy, Tania Galloni and Christina I.
EPA‐HQ‐OW‐2018‐0640‐0051                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0051
                                       Reichert, Attorneys, Earthjustice
EPA‐HQ‐OW‐2018‐0640‐0051‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0051
EPA‐HQ‐OW‐2018‐0640‐0051‐A2            Exhibits 1‐11 Request to Reconsider Completeness Determination        Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0051
                                       Comment submitted by Sally B. Philips, Mayor and Thomas Hope, City
EPA‐HQ‐OW‐2018‐0640‐0052                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0052
                                       Attorney et al., City of South Miami
EPA‐HQ‐OW‐2018‐0640‐0052‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0052
                                       Comment submitted by David Hartgrove, President and Conservation
EPA‐HQ‐OW‐2018‐0640‐0053                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0053
                                       Chair, Halifax River Audubon
EPA‐HQ‐OW‐2018‐0640‐0053‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0053
EPA‐HQ‐OW‐2018‐0640‐0054               Comment submitted by P. Cangialosi                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0054
EPA‐HQ‐OW‐2018‐0640‐0054‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0054
EPA‐HQ‐OW‐2018‐0640‐0055               Comment submitted by R. T. Platt                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0055
EPA‐HQ‐OW‐2018‐0640‐0055‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0055
EPA‐HQ‐OW‐2018‐0640‐0056               Comment submitted by J. Thomas                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0056
EPA‐HQ‐OW‐2018‐0640‐0056‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0056
                                       Comment submitted by Vincent Lamb, Chair, Brevard Indian River
EPA‐HQ‐OW‐2018‐0640‐0057                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0057
                                       Lagoon Coalition (BIRLC)
EPA‐HQ‐OW‐2018‐0640‐0057‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0057
                                       Comment submitted by Melanie Markel, President and Suzanne
EPA‐HQ‐OW‐2018‐0640‐0058               Graham, Governmental Affairs Chair, Charlotte DeSoto Building         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0058
                                       Industry Association (CDBIA)
EPA‐HQ‐OW‐2018‐0640‐0058‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0058
                                       Comment submitted by Rusty Payton, Chief Executive Officer, Florida
EPA‐HQ‐OW‐2018‐0640‐0059                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0059
                                       Home Builders Association (FHBA)
EPA‐HQ‐OW‐2018‐0640‐0059‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0059
                                       Comment submitted by Laura R. Perkins, Executive Officer, Volusia
EPA‐HQ‐OW‐2018‐0640‐0060                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0060
                                       Building Industry Association (VBIA)
EPA‐HQ‐OW‐2018‐0640‐0060‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0060
                                       Comment submitted by Jon Mast, MPA, Chief Executive Officer,
EPA‐HQ‐OW‐2018‐0640‐0061                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0061
                                       Manatee‐Sarasota Building Industry Association (MSBIA)
EPA‐HQ‐OW‐2018‐0640‐0061‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0061
                                       Comment submitted by Brian K. Will, President, Tallahassee Builders
EPA‐HQ‐OW‐2018‐0640‐0062                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0062
                                       Association (TBA)
EPA‐HQ‐OW‐2018‐0640‐0062‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0062
                                       Comment submitted by Stanley Lindsey, President, Bay Building
EPA‐HQ‐OW‐2018‐0640‐0063                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0063
                                       Industries Association (BBIA)
EPA‐HQ‐OW‐2018‐0640‐0063‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0063
                                       Comment submitted by David Peaden, Executive Director, Home
EPA‐HQ‐OW‐2018‐0640‐0064                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0064
                                       Builders Association of West Florida (HBA)
EPA‐HQ‐OW‐2018‐0640‐0064‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0064
                                       Comment submitted by Phillip Ford, Executive Vice President, Lee
EPA‐HQ‐OW‐2018‐0640‐0065                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0065
                                       Building Industry Association (LBIA)
EPA‐HQ‐OW‐2018‐0640‐0065‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0065
                                       Comment submitted by the Mark Perry and Marisa Carrozzo, Co‐
EPA‐HQ‐OW‐2018‐0640‐0066                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0066
                                       Chairs, Everglades Coalition
EPA‐HQ‐OW‐2018‐0640‐0066‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0066
EPA‐HQ‐OW‐2018‐0640‐0066‐A2            February 19, 2020 Notice of Proposed Rules Regarding 404 Assumption Public Comment Attachment     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0066




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EPA‐HQ‐OW‐2018‐0640‐0066‐A3            EVCO Resolution SB1402                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0066
                                       Comment submitted by Russell Littlefield, Chair, Board of Trustees,
EPA‐HQ‐OW‐2018‐0640‐0067                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0067
                                       Unitarian Universalist Congregation of Lake County
EPA‐HQ‐OW‐2018‐0640‐0067‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0067
                                       Comment submitted by Alan Baggett, Executive Vice President (EVP)
                                       and Jeremy Stewart, 2020 President, The Building Industry Association
EPA‐HQ‐OW‐2018‐0640‐0068                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0068
                                       (BIA) of Okaloosa‐Walton Counties, Florida Home Builders Association
                                       (FHBA)
EPA‐HQ‐OW‐2018‐0640‐0068‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0068
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                                       Comment submitted by K. T. Catlin, Executive Officer, Gold Coast
EPA‐HQ‐OW‐2018‐0640‐0069                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0069
                                       Builders Association (GCBA)
EPA‐HQ‐OW‐2018‐0640‐0069‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0069
EPA‐HQ‐OW‐2018‐0640‐0070               Anonymous public comment                                              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0070
EPA‐HQ‐OW‐2018‐0640‐0070‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0070
EPA‐HQ‐OW‐2018‐0640‐0071               Comment submitted by A. Stauber                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0071
EPA‐HQ‐OW‐2018‐0640‐0071‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0071
EPA‐HQ‐OW‐2018‐0640‐0072               Comment submitted by A. Krilloff                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0072
EPA‐HQ‐OW‐2018‐0640‐0072‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0072
EPA‐HQ‐OW‐2018‐0640‐0073               Comment submitted by C. Nagele                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0073
EPA‐HQ‐OW‐2018‐0640‐0073‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0073
EPA‐HQ‐OW‐2018‐0640‐0074               Comment submitted by D. Peterson                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0074
EPA‐HQ‐OW‐2018‐0640‐0074‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0074
                                       Comment submitted by Lindsay Dublin, Staff Attorney, Defenders of
EPA‐HQ‐OW‐2018‐0640‐0075                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0075
                                       Wildlife
EPA‐HQ‐OW‐2018‐0640‐0075‐A1            Cover Letter                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0075
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EPA‐HQ‐OW‐2018‐0640‐0076               Comment submitted by D. Sutton                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0076
EPA‐HQ‐OW‐2018‐0640‐0076‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0076
EPA‐HQ‐OW‐2018‐0640‐0077               Comment submitted by S. Hawken                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0077
EPA‐HQ‐OW‐2018‐0640‐0077‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0077
                                       Comment submitted by Christine Rupp, Executive Director, Dade
EPA‐HQ‐OW‐2018‐0640‐0078                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0078
                                       Heritage Trust
EPA‐HQ‐OW‐2018‐0640‐0078‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0078
                                       Comment submitted by Lindsay Dubin, Staff Attorney, Defenders of
EPA‐HQ‐OW‐2018‐0640‐0079                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0079
                                       Wildlife
EPA‐HQ‐OW‐2018‐0640‐0079‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0079
EPA‐HQ‐OW‐2018‐0640‐0080               Comment submitted by R. S. Mahoney                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0080
EPA‐HQ‐OW‐2018‐0640‐0080‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0080
                                       Comment submitted by Olivia Collins, Director of Programs, The CLEO
EPA‐HQ‐OW‐2018‐0640‐0081                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0081
                                       Institute
EPA‐HQ‐OW‐2018‐0640‐0081‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0081
                                       Comment submitted by Ed Thomas, Director, Regulatory Affairs, The
EPA‐HQ‐OW‐2018‐0640‐0082                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0082
                                       Fertilizer Institute (TFI)
EPA‐HQ‐OW‐2018‐0640‐0082‐A1            Cover page                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0082
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EPA‐HQ‐OW‐2018‐0640‐0083               Comment submitted by W. A. and D. J. Mills                            Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0083
EPA‐HQ‐OW‐2018‐0640‐0083‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0083
                                       Comment submitted by Truly Brown, Executive Vice President, Builders
EPA‐HQ‐OW‐2018‐0640‐0084                                                                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0084
                                       Association of South Florida (BASF)
EPA‐HQ‐OW‐2018‐0640‐0084‐A1            Comment                                                               Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0084



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                                       Comment submitted by Chassity Vega, Chief Executive Officer, Greater
EPA‐HQ‐OW‐2018‐0640‐0085                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0085
                                       Orlando Builders Association (GOBA)
EPA‐HQ‐OW‐2018‐0640‐0085‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0085
                                       Comment submitted by Alicia Dixon, Planning and Environmental
EPA‐HQ‐OW‐2018‐0640‐0086                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0086
                                       Compliance, Department Director, Lee County Port Authority
EPA‐HQ‐OW‐2018‐0640‐0086‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0086
                                       Comment submitted by Mark McIntosh, Director, Land
EPA‐HQ‐OW‐2018‐0640‐0087                                                                                   Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0087
                                       Development,Toll Brothers, Florida Home Builders Association (FHBA)
EPA‐HQ‐OW‐2018‐0640‐0087‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0087
                                       Comment Seth Bennett, Land Development, Assistant Manager, Toll
EPA‐HQ‐OW‐2018‐0640‐0088                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0088
                                       Brothers, Florida Home Builders Association (FHBA)
EPA‐HQ‐OW‐2018‐0640‐0088‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0088
EPA‐HQ‐OW‐2018‐0640‐0089               Anonymous public comment                                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0089
EPA‐HQ‐OW‐2018‐0640‐0089‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0089
                                       Comment submitted by Zachery Holmes, Avian Ecologist, Quest
EPA‐HQ‐OW‐2018‐0640‐0090                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0090
                                       Ecology, Inc.
EPA‐HQ‐OW‐2018‐0640‐0090‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0090
EPA‐HQ‐OW‐2018‐0640‐0091               Comment submitted by W. Hausmann                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0091
EPA‐HQ‐OW‐2018‐0640‐0091‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0091
EPA‐HQ‐OW‐2018‐0640‐0092               Comment submitted by V. Balsamo                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0092
EPA‐HQ‐OW‐2018‐0640‐0092‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0092
EPA‐HQ‐OW‐2018‐0640‐0093               Comment submitted by T. Riley                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0093
EPA‐HQ‐OW‐2018‐0640‐0093‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0093
EPA‐HQ‐OW‐2018‐0640‐0094               Comment submitted by H. B. Treanor                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0094
EPA‐HQ‐OW‐2018‐0640‐0094‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0094
EPA‐HQ‐OW‐2018‐0640‐0095               Comment submitted by T. Baugher                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0095
EPA‐HQ‐OW‐2018‐0640‐0095‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0095
EPA‐HQ‐OW‐2018‐0640‐0096               Comment submitted by T. Grantham                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0096
EPA‐HQ‐OW‐2018‐0640‐0096‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0096
EPA‐HQ‐OW‐2018‐0640‐0097               Comment submitted by R. Thibeault                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0097
EPA‐HQ‐OW‐2018‐0640‐0097‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0097
EPA‐HQ‐OW‐2018‐0640‐0098               Comment submitted by P. Lippart                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0098
EPA‐HQ‐OW‐2018‐0640‐0098‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0098
EPA‐HQ‐OW‐2018‐0640‐0099               Comment submitted by P. Anderson                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0099
EPA‐HQ‐OW‐2018‐0640‐0099‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0099
EPA‐HQ‐OW‐2018‐0640‐0100               Comment submitted by S. Pancoast                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0100
EPA‐HQ‐OW‐2018‐0640‐0100‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0100
EPA‐HQ‐OW‐2018‐0640‐0101               Comment submitted by R. Palmer                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0101
EPA‐HQ‐OW‐2018‐0640‐0101‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0101
EPA‐HQ‐OW‐2018‐0640‐0102               Comment submitted by P. Deganello                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0102
EPA‐HQ‐OW‐2018‐0640‐0102‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0102
EPA‐HQ‐OW‐2018‐0640‐0103               Comment submitted by D. Olinick                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0103
EPA‐HQ‐OW‐2018‐0640‐0103‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0103
EPA‐HQ‐OW‐2018‐0640‐0104               Comment submitted by N. Triana                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0104
EPA‐HQ‐OW‐2018‐0640‐0104‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0104
EPA‐HQ‐OW‐2018‐0640‐0105               Comment submitted by N. Mahomar                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0105
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EPA‐HQ‐OW‐2018‐0640‐0106‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0106
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EPA‐HQ‐OW‐2018‐0640‐0108               Comment submitted by M. Judge                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0108
EPA‐HQ‐OW‐2018‐0640‐0108‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0108
EPA‐HQ‐OW‐2018‐0640‐0109               Comment submitted by M. Virginia Grady                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0109
EPA‐HQ‐OW‐2018‐0640‐0109‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0109
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EPA‐HQ‐OW‐2018‐0640‐0111               Comment submitted by L. Losi                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0111
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EPA‐HQ‐OW‐2018‐0640‐0112               Comment submitted by L. Neapolitan                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0112
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EPA‐HQ‐OW‐2018‐0640‐0117‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0117
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EPA‐HQ‐OW‐2018‐0640‐0119‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0119
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EPA‐HQ‐OW‐2018‐0640‐0120‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0120
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EPA‐HQ‐OW‐2018‐0640‐0122‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0122
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EPA‐HQ‐OW‐2018‐0640‐0124‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0124
EPA‐HQ‐OW‐2018‐0640‐0125               Comment submitted by S. & G. Marshall                              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0125
EPA‐HQ‐OW‐2018‐0640‐0125‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0125
EPA‐HQ‐OW‐2018‐0640‐0126               Comment submitted by S. Roan                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0126
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EPA‐HQ‐OW‐2018‐0640‐0127               Comment submitted by S. Hay                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0127
EPA‐HQ‐OW‐2018‐0640‐0127‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0127
EPA‐HQ‐OW‐2018‐0640‐0128               Comment submitted by R. Thoman                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0128
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EPA‐HQ‐OW‐2018‐0640‐0129               Comment submitted by R. Justice                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0129
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EPA‐HQ‐OW‐2018‐0640‐0131‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0131
EPA‐HQ‐OW‐2018‐0640‐0132               Comment submitted by R. Reichert                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0132
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EPA‐HQ‐OW‐2018‐0640‐0156               Comment submitted by F. H. Howell‐Coleman                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0156
EPA‐HQ‐OW‐2018‐0640‐0156‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0156
EPA‐HQ‐OW‐2018‐0640‐0157               Comment submitted by H. Wayne White                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0157
EPA‐HQ‐OW‐2018‐0640‐0157‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0157
EPA‐HQ‐OW‐2018‐0640‐0158               Comment submitted by A. Gordon                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0158



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EPA‐HQ‐OW‐2018‐0640‐0158‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0158
EPA‐HQ‐OW‐2018‐0640‐0159               Comment submitted by D. Goldberg                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0159
EPA‐HQ‐OW‐2018‐0640‐0159‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0159
EPA‐HQ‐OW‐2018‐0640‐0160               Anonymous public comment                                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0160
EPA‐HQ‐OW‐2018‐0640‐0160‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0160
EPA‐HQ‐OW‐2018‐0640‐0161               Comment submitted by G. Houchens                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0161
EPA‐HQ‐OW‐2018‐0640‐0161‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0161
EPA‐HQ‐OW‐2018‐0640‐0162               Comment submitted by M. Frandsen                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0162
EPA‐HQ‐OW‐2018‐0640‐0162‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0162
EPA‐HQ‐OW‐2018‐0640‐0163               Comment submitted by D. and K. Feeser                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0163
EPA‐HQ‐OW‐2018‐0640‐0163‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0163
EPA‐HQ‐OW‐2018‐0640‐0164               Comment submitted by E. Johnston                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0164
EPA‐HQ‐OW‐2018‐0640‐0164‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0164
                                       Comment submitted by Aldo D Martin, Chief Executive Officer,
EPA‐HQ‐OW‐2018‐0640‐0165                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0165
                                       Bellavista Homes
EPA‐HQ‐OW‐2018‐0640‐0165‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0165
                                       Comment submitted by Amanda Bowen, Executive Director,
EPA‐HQ‐OW‐2018‐0640‐0166                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0166
                                       Manufacturer's Association of Florida (MAF)
EPA‐HQ‐OW‐2018‐0640‐0166‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0166
                                       Comment submitted by John Riddle, Vice President, Turning Leaf
EPA‐HQ‐OW‐2018‐0640‐0167                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0167
                                       Construction
EPA‐HQ‐OW‐2018‐0640‐0167‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0167
EPA‐HQ‐OW‐2018‐0640‐0168               Comment submitted by R. Franklin Rash                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0168
EPA‐HQ‐OW‐2018‐0640‐0168‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0168
EPA‐HQ‐OW‐2018‐0640‐0169               Comment submitted by P. Morgan                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0169
EPA‐HQ‐OW‐2018‐0640‐0169‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0169
EPA‐HQ‐OW‐2018‐0640‐0170               Comment submitted by J. N. Baker                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0170
EPA‐HQ‐OW‐2018‐0640‐0170‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0170
EPA‐HQ‐OW‐2018‐0640‐0171               Comment submitted by J. Mullen                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0171
EPA‐HQ‐OW‐2018‐0640‐0171‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0171
EPA‐HQ‐OW‐2018‐0640‐0172               Comment submitted by J. Banks                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0172
EPA‐HQ‐OW‐2018‐0640‐0172‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0172
EPA‐HQ‐OW‐2018‐0640‐0173               Comment submitted by J. Jung                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0173
EPA‐HQ‐OW‐2018‐0640‐0173‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0173
EPA‐HQ‐OW‐2018‐0640‐0174               Comment submitted by J. Lee                                          Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0174
EPA‐HQ‐OW‐2018‐0640‐0174‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0174
EPA‐HQ‐OW‐2018‐0640‐0175               Comment submitted by J. Liakos                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0175
EPA‐HQ‐OW‐2018‐0640‐0175‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0175
EPA‐HQ‐OW‐2018‐0640‐0176               Comment submitted by J. Erke and M. Fulton                           Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0176
EPA‐HQ‐OW‐2018‐0640‐0176‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0176
EPA‐HQ‐OW‐2018‐0640‐0177               Comment submitted by J. Stats                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0177
EPA‐HQ‐OW‐2018‐0640‐0177‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0177
EPA‐HQ‐OW‐2018‐0640‐0178               Comment submitted by J. M. Gilmer                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0178
EPA‐HQ‐OW‐2018‐0640‐0178‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0178
EPA‐HQ‐OW‐2018‐0640‐0179               Comment submitted by J. Griffiths                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0179
EPA‐HQ‐OW‐2018‐0640‐0179‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0179
EPA‐HQ‐OW‐2018‐0640‐0180               Comment submitted by J. Elmore                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0180
EPA‐HQ‐OW‐2018‐0640‐0180‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0180
EPA‐HQ‐OW‐2018‐0640‐0181               Comment submitted by E. Searcy                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0181
EPA‐HQ‐OW‐2018‐0640‐0181‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0181
EPA‐HQ‐OW‐2018‐0640‐0182               Comment submitted by E. R. Shaw                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0182



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EPA‐HQ‐OW‐2018‐0640‐0182‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0182
EPA‐HQ‐OW‐2018‐0640‐0183               Comment submitted by D. Hansen                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0183
EPA‐HQ‐OW‐2018‐0640‐0183‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0183
EPA‐HQ‐OW‐2018‐0640‐0184               Comment submitted by D. Berray                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0184
EPA‐HQ‐OW‐2018‐0640‐0184‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0184
EPA‐HQ‐OW‐2018‐0640‐0185               Comment submitted by D. Cassidy                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0185
EPA‐HQ‐OW‐2018‐0640‐0185‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0185
EPA‐HQ‐OW‐2018‐0640‐0186               Comment submitted by D. soule                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0186
EPA‐HQ‐OW‐2018‐0640‐0186‐A1            COmment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0186
EPA‐HQ‐OW‐2018‐0640‐0187               Comment submitted by D. Helms                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0187
EPA‐HQ‐OW‐2018‐0640‐0187‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0187
EPA‐HQ‐OW‐2018‐0640‐0188               Comment submitted by D. C. Botto                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0188
EPA‐HQ‐OW‐2018‐0640‐0188‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0188
EPA‐HQ‐OW‐2018‐0640‐0189               Comment submitted by C. Longmuir                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0189
EPA‐HQ‐OW‐2018‐0640‐0189‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0189
EPA‐HQ‐OW‐2018‐0640‐0190               Comment submitted by C. Heath                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0190
EPA‐HQ‐OW‐2018‐0640‐0190‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0190
EPA‐HQ‐OW‐2018‐0640‐0191               Comment submitted by A. Economy                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0191
EPA‐HQ‐OW‐2018‐0640‐0191‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0191
EPA‐HQ‐OW‐2018‐0640‐0192               Comment submitted by A. Reakes                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0192
EPA‐HQ‐OW‐2018‐0640‐0192‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0192
EPA‐HQ‐OW‐2018‐0640‐0193               Comment submitted by C. Ragan                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0193
EPA‐HQ‐OW‐2018‐0640‐0193‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0193
EPA‐HQ‐OW‐2018‐0640‐0194               Comment submitted by I. Uhlhorn                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0194
EPA‐HQ‐OW‐2018‐0640‐0194‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0194
EPA‐HQ‐OW‐2018‐0640‐0195               Anonymous public comment                                           Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0195
EPA‐HQ‐OW‐2018‐0640‐0196               Comment submitted by J. Morton                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0196
EPA‐HQ‐OW‐2018‐0640‐0196‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0196
EPA‐HQ‐OW‐2018‐0640‐0197               Comment submitted by J. and P. See                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0197
EPA‐HQ‐OW‐2018‐0640‐0197‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0197
                                       Comment submitted by Dan Overstreet, Atlantic Mortgage Services,
EPA‐HQ‐OW‐2018‐0640‐0198                                                                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0198
                                       Inc.
EPA‐HQ‐OW‐2018‐0640‐0198‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0198
EPA‐HQ‐OW‐2018‐0640‐0199               Comment submitted by J. C. Birdsall                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0199
EPA‐HQ‐OW‐2018‐0640‐0199‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0199
EPA‐HQ‐OW‐2018‐0640‐0200               Comment submitted by B. Jurgaitis                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0200
EPA‐HQ‐OW‐2018‐0640‐0200‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0200
EPA‐HQ‐OW‐2018‐0640‐0201               Anonymous public comment                                           Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0201
EPA‐HQ‐OW‐2018‐0640‐0201‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0201
EPA‐HQ‐OW‐2018‐0640‐0202               Anonymous public comment                                           Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0202
EPA‐HQ‐OW‐2018‐0640‐0202‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0202
EPA‐HQ‐OW‐2018‐0640‐0203               Comment submitted by A. J. Anderson                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0203
EPA‐HQ‐OW‐2018‐0640‐0203‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0203
EPA‐HQ‐OW‐2018‐0640‐0204               Comment submitted by A. Leathers                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0204
EPA‐HQ‐OW‐2018‐0640‐0204‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0204
EPA‐HQ‐OW‐2018‐0640‐0205               Comment submitted by A. D. Pray                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0205
EPA‐HQ‐OW‐2018‐0640‐0205‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0205
EPA‐HQ‐OW‐2018‐0640‐0206               Comment submitted by W. Burdick                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0206
EPA‐HQ‐OW‐2018‐0640‐0206‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0206
EPA‐HQ‐OW‐2018‐0640‐0207               Comment submitted by B. Brown                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0207
EPA‐HQ‐OW‐2018‐0640‐0207‐A1            Comment                                                            Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0207



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                                       Comment submitted by Carol Herbert, President, Conradina Chapter
EPA‐HQ‐OW‐2018‐0640‐0208               Fl. Native Plant Society on behalf of Brevard Indian River Lagoon   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0208
                                       Coalition (BIRLC)
EPA‐HQ‐OW‐2018‐0640‐0208‐A1            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0208
EPA‐HQ‐OW‐2018‐0640‐0209               Comment submitted by E. H. Hughes                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0209
EPA‐HQ‐OW‐2018‐0640‐0209‐A1            Cover page                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0209
EPA‐HQ‐OW‐2018‐0640‐0209‐A2            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0209
                                       Comment submitted by Kae Hovater, President, Florida Association of
EPA‐HQ‐OW‐2018‐0640‐0210                                                                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0210
                                       Mitigation Bankers (FAMB)
EPA‐HQ‐OW‐2018‐0640‐0210‐A1            Cover page                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0210
EPA‐HQ‐OW‐2018‐0640‐0210‐A2            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0210
                                       Comment submitted by James Evans, Environmental Policy Director,
EPA‐HQ‐OW‐2018‐0640‐0211                                                                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0211
                                       Sanibel‐Captiva Conservation Foundation (SCCF)
EPA‐HQ‐OW‐2018‐0640‐0211‐A1            Cover page                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0211
EPA‐HQ‐OW‐2018‐0640‐0211‐A2            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0211
                                       Comment submitted by Victoria Jean Tschinkel, Chair, Litigation
EPA‐HQ‐OW‐2018‐0640‐0212                                                                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0212
                                       Committee, 1000 Friends of Florida
EPA‐HQ‐OW‐2018‐0640‐0212‐A1            Cover page                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0212
EPA‐HQ‐OW‐2018‐0640‐0212‐A2            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0212
                                       Comment submitted by Annamaria Abad, Executive Officer and Scott
EPA‐HQ‐OW‐2018‐0640‐0213                                                                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0213
                                       Sowers, President, Flagler Home Builders Association (FHBA)
EPA‐HQ‐OW‐2018‐0640‐0213‐A1            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0213
                                       Comment submitted by John C. Fowke, Chairman of the Board,
EPA‐HQ‐OW‐2018‐0640‐0214                                                                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0214
                                       National Association of Home Builders (NAHB)
EPA‐HQ‐OW‐2018‐0640‐0214‐A1            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0214
                                       Comment submitted by Amber Crooks, Environmental Policy Manager,
EPA‐HQ‐OW‐2018‐0640‐0215                                                                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0215
                                       Conservancy of Southwest Florida (CSWFL)
EPA‐HQ‐OW‐2018‐0640‐0215‐A1            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0215
EPA‐HQ‐OW‐2018‐0640‐0215‐A2            Att A ‐ FDEP retained waters list compare to ACOE nav list          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0215
EPA‐HQ‐OW‐2018‐0640‐0215‐A3            Att B ‐ Jacksonville District Section 10 Waters                     Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0215
                                       Att C ‐ Oct 2017 ‐ Supplement To Jacksonville District Section 10
EPA‐HQ‐OW‐2018‐0640‐0215‐A4                                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0215
                                       Waters
EPA‐HQ‐OW‐2018‐0640‐0215‐A5            Att D ‐ 4‐18‐18 ACOE re Navigability of waters in southwest Florida Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0215
EPA‐HQ‐OW‐2018‐0640‐0216               Comment submitted by R. Mayer                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0216
EPA‐HQ‐OW‐2018‐0640‐0217               Comment submitted by L. Miller                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0217
                                       Comment submitted by Julie Wraithmell VP and Executive Director
EPA‐HQ‐OW‐2018‐0640‐0218                                                                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0218
                                       and Beth Alvi, Director of Policy, Audubon Florida
EPA‐HQ‐OW‐2018‐0640‐0218‐A1            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0218
                                       Comment submitted by Georgia Ackerman, Riverkeeper and Executive
EPA‐HQ‐OW‐2018‐0640‐0219                                                                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0219
                                       Director, Apalachicola Riverkeeper
EPA‐HQ‐OW‐2018‐0640‐0219‐A1            Comment                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0219
EPA‐HQ‐OW‐2018‐0640‐0220               Comment submitted by Adriene Barmann, Chair, Broward Sierra Club   Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0220
EPA‐HQ‐OW‐2018‐0640‐0221               Comment submitted by N. Fried                                      Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0221
EPA‐HQ‐OW‐2018‐0640‐0222               Comment submitted by O. Williams                                   Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0222
EPA‐HQ‐OW‐2018‐0640‐0222‐A1            Comment                                                            Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0222
                                       Comment submitted by Noah Valenstein, Secretary, Florida
EPA‐HQ‐OW‐2018‐0640‐0223                                                                                  Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0223
                                       Department of Environmental Protection (FDEP)
EPA‐HQ‐OW‐2018‐0640‐0223‐A1            Comment                                                            Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0223
EPA‐HQ‐OW‐2018‐0640‐0224               Comment submitted by D. Harbeitner                                 Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0224
EPA‐HQ‐OW‐2018‐0640‐0225               Anonymous public comment                                           Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0225



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                                       Mass Comment Campaign sponsoring organization unknown. Sample
EPA‐HQ‐OW‐2018‐0640‐0226                                                                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0226
                                       attached (web)
EPA‐HQ‐OW‐2018‐0640‐0227               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0227
EPA‐HQ‐OW‐2018‐0640‐0228               Comment submitted by M. Weinberg                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0228
EPA‐HQ‐OW‐2018‐0640‐0229               Comment submitted by J. Becker                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0229
EPA‐HQ‐OW‐2018‐0640‐0230               Comment submitted by M. Hill                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0230
EPA‐HQ‐OW‐2018‐0640‐0231               Comment submitted by P. Moskal                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0231
EPA‐HQ‐OW‐2018‐0640‐0232               Comment submitted by M. Costello                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0232
EPA‐HQ‐OW‐2018‐0640‐0233               Comment submitted by S. Stephens                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0233
EPA‐HQ‐OW‐2018‐0640‐0234               Comment submitted by B. Berry                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0234
EPA‐HQ‐OW‐2018‐0640‐0235               Comment submitted by H. Matzelle                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0235
EPA‐HQ‐OW‐2018‐0640‐0236               Comment submitted by M. VanKleunen                              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0236
EPA‐HQ‐OW‐2018‐0640‐0237               Comment submitted by B. Korner                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0237
EPA‐HQ‐OW‐2018‐0640‐0238               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0238
EPA‐HQ‐OW‐2018‐0640‐0239               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0239
EPA‐HQ‐OW‐2018‐0640‐0240               Comment submitted by B. Moore                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0240
EPA‐HQ‐OW‐2018‐0640‐0241               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0241
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EPA‐HQ‐OW‐2018‐0640‐0243               Comment submitted by T. Crew                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0243
EPA‐HQ‐OW‐2018‐0640‐0244               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0244
EPA‐HQ‐OW‐2018‐0640‐0245               Comment submitted by P. Stoddard                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0245
EPA‐HQ‐OW‐2018‐0640‐0246               Comment submitted by J. Shea                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0246
EPA‐HQ‐OW‐2018‐0640‐0247               Comment submitted by K. Ruddick                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0247
EPA‐HQ‐OW‐2018‐0640‐0248               Comment submitted by K. Kurowski                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0248
EPA‐HQ‐OW‐2018‐0640‐0249               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0249
EPA‐HQ‐OW‐2018‐0640‐0250               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0250
EPA‐HQ‐OW‐2018‐0640‐0251               Comment submitted by M. Lorand                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0251
EPA‐HQ‐OW‐2018‐0640‐0252               Comment submitted by E. Bloch                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0252
EPA‐HQ‐OW‐2018‐0640‐0253               Comment submitted by R. Ludwig                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0253
EPA‐HQ‐OW‐2018‐0640‐0254               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0254
EPA‐HQ‐OW‐2018‐0640‐0255               Comment submitted by C. Colburn                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0255
EPA‐HQ‐OW‐2018‐0640‐0255‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0255
EPA‐HQ‐OW‐2018‐0640‐0256               Comment submitted by F. J. Clifford                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0256
EPA‐HQ‐OW‐2018‐0640‐0256‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0256
EPA‐HQ‐OW‐2018‐0640‐0257               Comment submitted by C. Newman                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0257
EPA‐HQ‐OW‐2018‐0640‐0257‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0257
EPA‐HQ‐OW‐2018‐0640‐0258               Comment submitted by C. Charland                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0258
EPA‐HQ‐OW‐2018‐0640‐0258‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0258
EPA‐HQ‐OW‐2018‐0640‐0259               Comment submitted by C. Ryan                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0259
EPA‐HQ‐OW‐2018‐0640‐0259‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0259
EPA‐HQ‐OW‐2018‐0640‐0260               Comment submitted by C. R. Sharp                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0260
EPA‐HQ‐OW‐2018‐0640‐0260‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0260
EPA‐HQ‐OW‐2018‐0640‐0261               Comment submitted by B. B. Morton                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0261
EPA‐HQ‐OW‐2018‐0640‐0261‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0261
EPA‐HQ‐OW‐2018‐0640‐0262               Comment submitted by B. Paradise                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0262
EPA‐HQ‐OW‐2018‐0640‐0262‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0262
EPA‐HQ‐OW‐2018‐0640‐0263               Comment submitted by B. & R. Pinga                              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0263
EPA‐HQ‐OW‐2018‐0640‐0263‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0263
EPA‐HQ‐OW‐2018‐0640‐0264               Comment submitted by W. Brant                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0264
EPA‐HQ‐OW‐2018‐0640‐0264‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0264
EPA‐HQ‐OW‐2018‐0640‐0265               Comment submitted by P. Bodette                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0265



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EPA‐HQ‐OW‐2018‐0640‐0266               Comment submitted by J. Carl Blow                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0266
EPA‐HQ‐OW‐2018‐0640‐0266‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0266
EPA‐HQ‐OW‐2018‐0640‐0267               Comment submitted by C. Kroehler                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0267
EPA‐HQ‐OW‐2018‐0640‐0268               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0268
EPA‐HQ‐OW‐2018‐0640‐0269               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0269
EPA‐HQ‐OW‐2018‐0640‐0270               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0270
EPA‐HQ‐OW‐2018‐0640‐0271               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0271
EPA‐HQ‐OW‐2018‐0640‐0272               Comment submitted by J. and B. Baron                            Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0272
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EPA‐HQ‐OW‐2018‐0640‐0274               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0274
EPA‐HQ‐OW‐2018‐0640‐0275               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0275
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EPA‐HQ‐OW‐2018‐0640‐0277               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0277
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EPA‐HQ‐OW‐2018‐0640‐0280               Comment submitted by M. McGrath                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0280
EPA‐HQ‐OW‐2018‐0640‐0281               Comment submitted by J. R. McGrath                              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0281
EPA‐HQ‐OW‐2018‐0640‐0282               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0282
EPA‐HQ‐OW‐2018‐0640‐0283               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0283
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EPA‐HQ‐OW‐2018‐0640‐0285               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0285
EPA‐HQ‐OW‐2018‐0640‐0286               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0286
EPA‐HQ‐OW‐2018‐0640‐0287               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0287
EPA‐HQ‐OW‐2018‐0640‐0288               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0288
EPA‐HQ‐OW‐2018‐0640‐0289               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0289
EPA‐HQ‐OW‐2018‐0640‐0290               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0290
EPA‐HQ‐OW‐2018‐0640‐0291               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0291
EPA‐HQ‐OW‐2018‐0640‐0292               Comment submitted by M. Diamicis                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0292
EPA‐HQ‐OW‐2018‐0640‐0293               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0293
EPA‐HQ‐OW‐2018‐0640‐0294               Comment submitted by J. Rainbrook                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0294
EPA‐HQ‐OW‐2018‐0640‐0295               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0295
EPA‐HQ‐OW‐2018‐0640‐0296               Comment submitted by C. Hood                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0296
EPA‐HQ‐OW‐2018‐0640‐0297               Comment submitted by R. Woodard                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0297
EPA‐HQ‐OW‐2018‐0640‐0298               Comment submitted by T. Sechler                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0298
EPA‐HQ‐OW‐2018‐0640‐0299               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0299
EPA‐HQ‐OW‐2018‐0640‐0300               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0300
EPA‐HQ‐OW‐2018‐0640‐0301               Comment submitted by M. Brawer                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0301
EPA‐HQ‐OW‐2018‐0640‐0302               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0302
EPA‐HQ‐OW‐2018‐0640‐0303               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0303
EPA‐HQ‐OW‐2018‐0640‐0304               Comment submitted by C. Greenspan                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0304
EPA‐HQ‐OW‐2018‐0640‐0305               Comment submitted by W. Leuzinger                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0305
EPA‐HQ‐OW‐2018‐0640‐0306               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0306
EPA‐HQ‐OW‐2018‐0640‐0307               Comment submitted by M. Lowery                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0307
EPA‐HQ‐OW‐2018‐0640‐0308               Comment submitted by K. Fette                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0308
EPA‐HQ‐OW‐2018‐0640‐0309               Comment submitted by B. Ambrose                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0309
EPA‐HQ‐OW‐2018‐0640‐0310               Comment submitted by J. Hostler                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0310
EPA‐HQ‐OW‐2018‐0640‐0311               Comment submitted by F. Nielander                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0311
EPA‐HQ‐OW‐2018‐0640‐0312               Comment submitted by K. Steindal                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0312
EPA‐HQ‐OW‐2018‐0640‐0313               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0313
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EPA‐HQ‐OW‐2018‐0640‐0316               Anonymous public comment                                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0316
EPA‐HQ‐OW‐2018‐0640‐0317               Comment submitted by S. Faucher                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0317
EPA‐HQ‐OW‐2018‐0640‐0318               Anonymous public comment                                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0318
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EPA‐HQ‐OW‐2018‐0640‐0322               Comment submitted by K. Moore                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0322
EPA‐HQ‐OW‐2018‐0640‐0323               Comment submitted by C. Meketa                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0323
EPA‐HQ‐OW‐2018‐0640‐0324               Anonymous public comment                                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0324
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EPA‐HQ‐OW‐2018‐0640‐0326               Comment submitted by D. A Whitehair                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0326
EPA‐HQ‐OW‐2018‐0640‐0327               Comment submitted by J. Tatum                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0327
EPA‐HQ‐OW‐2018‐0640‐0328               Comment submitted by C. Dawson                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0328
EPA‐HQ‐OW‐2018‐0640‐0329               Anonymous public comment                                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0329
EPA‐HQ‐OW‐2018‐0640‐0330               Comment submitted by S. McMahon                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0330
EPA‐HQ‐OW‐2018‐0640‐0331               Comment submitted by J. Compel                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0331
EPA‐HQ‐OW‐2018‐0640‐0332               Comment submitted by D. Cowans                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0332
EPA‐HQ‐OW‐2018‐0640‐0333               Comment submitted by P. Sigmann                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0333
EPA‐HQ‐OW‐2018‐0640‐0334               Comment submitted by B. Schwartz                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0334
EPA‐HQ‐OW‐2018‐0640‐0335               Anonymous public comment                                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0335
EPA‐HQ‐OW‐2018‐0640‐0336               Comment submitted by V. Wilmot                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0336
EPA‐HQ‐OW‐2018‐0640‐0337               Comment submitted by J. Kessel                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0337
EPA‐HQ‐OW‐2018‐0640‐0338               Anonymous public comment                                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0338
EPA‐HQ‐OW‐2018‐0640‐0339               Comment submitted by B. A. Angelucci                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0339
EPA‐HQ‐OW‐2018‐0640‐0340               Comment submitted by M. Holt                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0340
EPA‐HQ‐OW‐2018‐0640‐0341               Comment submitted by D. Umpierre                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0341
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EPA‐HQ‐OW‐2018‐0640‐0343               Comment submitted by L. Cheval                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0343
EPA‐HQ‐OW‐2018‐0640‐0344               Comment submitted by C. Charland                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0344
EPA‐HQ‐OW‐2018‐0640‐0345               Comment submitted by R. Eslinger                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0345
                                       Comment submitted by Lindsay Dubin, Staff Attorney and Kent L.
EPA‐HQ‐OW‐2018‐0640‐0346                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0346
                                       Wimmer, AICP, Senior Representative, Defenders of Wildlife
EPA‐HQ‐OW‐2018‐0640‐0346‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0346
EPA‐HQ‐OW‐2018‐0640‐0346‐A2            Defenders of Wildlife Comments Ex. E ‐ Ex. I                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0346
                                       Comment submitted by Sara Johnson, Executive Director, Ecological
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                                       Restoration Business Association (ERBA)
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                                       Comment submitted by LeeAnne Wendt, Tribal Archaeologist, Historic
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                                       (MCN)
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EPA‐HQ‐OW‐2018‐0640‐0350               Comment submitted by E. Watkins                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0350
EPA‐HQ‐OW‐2018‐0640‐0351               Comment submitted by B. Dunk                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0351
EPA‐HQ‐OW‐2018‐0640‐0352               Comment submitted by K. McDonald                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0352
EPA‐HQ‐OW‐2018‐0640‐0353               Comment submitted by C. Charland                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0353
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                                       Comment submitted by Jeffrey G. Schnellmann, Silliman CitySide
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EPA‐HQ‐OW‐2018‐0640‐0356               Comment submitted by A. Deschane                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0356
                                       Comment submitted by John Holt, Solar Tite, Inc. for Florida Home
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                                       Builders Association (FHBA)
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                                       Comment submitted by Marian Ryan, Ancient Islands Group of the
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                                       Sierra Club Florida
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                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation, The Conservancy of Southwest Florida, the
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                                       Center for Biological Diversity, Miami Waterkeeper, and St. Johns
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                                       Exhibit 12: St. Johns Riverkeeper, State Failing to Protect Our
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                                       Permitting Authority
                                       Exhibit 14: Consolidation of State and Federal Wetland Permitting
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                                       Exhibit 18: Everglades Coalition Resolution Opposing SB1402 and
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                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation et al. Comment submitted by Tania Galloni
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                                       Conservancy of Southwest Florida, the Center for Biological Diversity,
                                       Miami Waterkeeper, and St. Johns Riverkeeper ‐ Part 1
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EPA‐HQ‐OW‐2018‐0640‐0386‐A2            01 ‐ 2002 Purdum FL Waters ‐ Resource Manual                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0386
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EPA‐HQ‐OW‐2018‐0640‐0386‐A5            03.b ‐ 1996 USGS Natl Water Wetlands                                     Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0386
EPA‐HQ‐OW‐2018‐0640‐0386‐A6            04 ‐ 2016 Kotala ‐ FL Declared a Global Biodiversity Hotspot             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0386
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                                       08 ‐ Florida Agriculture Overview and Statistics ‐ Florida Department of
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                                       Agriculture & Consumer Services
                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation, The Conservancy of Southwest Florida, the
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                                       Center for Biological Diversity, Miami Waterkeeper, and St. Johns
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                                       Exhibit 51: Transcript of Public Hearing on April 27, 2020 ‐ Noticed in
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                                       the Florida Administrative Register on April 17, 2020...
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                                       Exhibit 53: Letter from Bonny Malloy, Earthjustice, et al to Kelly
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                                       Laycock Oceans, Wetlands and Streams Protection Branch, USEPA...
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                                       Exhibit 57: Memorandum of Understanding between the Florida Fish
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                                       and Wildlife Conservation Commission (“FWC”), the United States...
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                                       Assumption by the State of Florida July 24, 2020
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                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation, The Conservancy of Southwest Florida, the
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                                       Center for Biological Diversity, Miami Waterkeeper, and St. Johns
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                                       062 ‐ EPA Discretionary Decision to Approve State Assumption of CWA
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                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation, The Conservancy of Southwest Florida, the
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                                       Center for Biological Diversity, Miami Waterkeeper, and St. Johns
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                                       71 ‐ Letter from Cathryne Tortorici Nat'l Marine Fisheries Serv. to
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                                       Heather Mason Fla Dept of Envt Prot Apr 15 2020
                                       72 ‐ Ryan Dailey, Florida DEP Gets New Duties, Including Septic
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                                       80 ‐ Az. Dep’t of Env’t Quality, Clean Water Act § 404 Assumption
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                                       Roadmap Review Meeting
                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation, The Conservancy of Southwest Florida, the
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                                       102 ‐ Letter from Donald K. Kinard, Army Corps, to Pete Logan, Long
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                                       Bar Pointe, May 5, 2017
                                       103 ‐ Hannah Morse, Corps Denies Long Bar Pointe’s Second Mitigation
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                                       Bank Proposal, Bradenton Herald, May 5, 2017
                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation, The Conservancy of Southwest Florida, the
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                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation, The Conservancy of Southwest Florida, the
EPA‐HQ‐OW‐2018‐0640‐0392                                                                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0392
                                       Center for Biological Diversity, Miami Waterkeeper, and St. Johns
                                       Riverkeeper ‐ Part 3
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EPA‐HQ‐OW‐2018‐0640‐0392‐A5            Exhibit 22 ‐ Corps seeks public comment navigation waters 4/5/18       Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0392



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                                       Exhibit 26 ‐ Silverstein Waterkeeper Letter to US Corps Engineers
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                                       Exhibit 30 ‐ Corps Supplement Jacksonville Navigable Waters Lists
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                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation, The Conservancy of Southwest Florida, the
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                                       Center for Biological Diversity, Miami Waterkeeper, and St. Johns
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                                       Comment submitted by Tania Galloni et al., Earthjustice on behalf of
                                       Florida Wildlife Federation, The Conservancy of Southwest Florida, the
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                                       Center for Biological Diversity, Miami Waterkeeper, and St. Johns
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                                       82 ‐ Press Release PEER ‐ Florida Eco‐Noncompliance Rises as
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                                       Enforcement Wanes
                                       83 ‐ Press Release PEER ‐ Fewer Florida Eco‐Inspections Equals Less
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                                       Compliance 2019
                                       84 ‐ PEER Report on Enforcement Efforts By the Florida Department of
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                                       Environmental Protection ‐ Calendar Year 2018
                                       85 ‐ Press Release PEER ‐ Florida Racks up Second Worst Eco
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                                       Environmental Protection ‐ Calendar Year 2017
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                                       Environmental Protection ‐ Calendar Year 2016
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                                       Maria Island News
EPA‐HQ‐OW‐2018‐0640‐0395               Anonymous public comment                                                Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0395
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EPA‐HQ‐OW‐2018‐0640‐0400               Comment submitted by W. Billings                                        Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0400
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                                       Comment submitted by John Williams, RWA inc., President and Amelia
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                                       Vasquez, Executive Officer, Collier Building Industry Association (CBIA)
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                                       Comment submitted by Noah Valenstein, Secretary, Florida
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                                       Comment submitted by S. Ansley Samson, General Counsel, Everglades
                                       Law Center, Inc. Karen Marcus, President, Sustainable Palm Beach
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                                       County and Melissa E. Abdo, Regional Director, Sun Coast Region,
                                       National Parks Conservation Association
EPA‐HQ‐OW‐2018‐0640‐0406‐A1            Comment                                                                  Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0406
                                       Comment submitted by Kenya Rothstein, Legal Intern, Friends of
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                                       Biscayne Bay (FOBB)
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                                       Comment submitted by Bruce Matheson, President, and Laura
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                                       Reynolds Vice‐President , both Friends of Biscayne Bay (FOBB)
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                                       Comment submitted by Senator Debbie Mayfield, District 17, Florida
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                                       Comment submitted by Julie Wraithmell, Vice President (VP) and
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                                       et al.
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                                       Comment submitted by Alan Keller, Conservation Chair, Audubon
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                                       Western Everglades, Audubon Florida
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                                       Comment submitted by Aaron J. Adams, Director, Science and
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                                       Conservation, Bonefish & Tarpon Trust
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                                       Comment submitted by S. Ansley Samson, General Counsel, Everglades
                                       Law Center, Inc., Karen Marcus, President, Sustainable Palm Beach
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                                       County, and Melissa E. Abdo, Regional Director, Sun Coast Region,
                                       National Parks Conservation Association
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                                       Comment forwarded from Wesley R. Brooks, Director of Federal
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                                       Affairs, Florida Department of Environmental Protection
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                                       Attachment 1 ‐ Comment submitted by Daniel Webster, et al. House of
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                                       Representatives, Congress of the United States
                                       Attachment 2 ‐ Comment submitted by Mario Diar‐Balart and Alcee L.
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                                       Hastings, Members of Congress, Congress of the United States
                                       Attachment 3 ‐ Comment submitted by Marco Rubio and Rick Scott,
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                                       U.S. Senators
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                                       Comment submitted by Danielle Hopkins, Executive Director, Florida
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                                       Stormwater Association (FSA), Inc.
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                                       Comment submitted by Eric Sutton, Executive Director, Florida Fish
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                                       and Wildlife Conservation Commission (FWC)
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                                       Comment submitted by Dan Lamson, Executive Director, Indian River
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                                       Neighborhood Association (IRNA)
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                                       Comment submitted by Leesa Souto, Ph.D., Executive Director and
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                                       Terrence Casto, Board Chairman, Marine Resources Council (MRC)
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                                       Comment submitted by Rachel Silverstein, Executive Director &
EPA‐HQ‐OW‐2018‐0640‐0425                                                                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0425
                                       Waterkeeper, Miami Waterkeeper
EPA‐HQ‐OW‐2018‐0640‐0425‐A1            Cover page                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0425
EPA‐HQ‐OW‐2018‐0640‐0425‐A2            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0425
EPA‐HQ‐OW‐2018‐0640‐0425‐A3            Waterkeepers Florida (Addendum)                                        Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0425
EPA‐HQ‐OW‐2018‐0640‐0426               Comment submitted by P. B. Milone                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0426
EPA‐HQ‐OW‐2018‐0640‐0426‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0426
                                       Comment submitted by Katie Paulson, Legislative Assistant on behalf
EPA‐HQ‐OW‐2018‐0640‐0427               of Congresswoman Donna E. Shalala, Florida's 27th Congressional        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0427
                                       District, Member of Congress
EPA‐HQ‐OW‐2018‐0640‐0427‐A1            Cover page                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0427
EPA‐HQ‐OW‐2018‐0640‐0427‐A2            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0427
                                       Comment submitted by Michael J. Roth, President, Our Santa Fe River,
EPA‐HQ‐OW‐2018‐0640‐0428                                                                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0428
                                       Inc
EPA‐HQ‐OW‐2018‐0640‐0428‐A1            Cover page                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0428
EPA‐HQ‐OW‐2018‐0640‐0428‐A2            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0428
                                       10‐21‐2020 Virtual Public Hearing on FL's Request to Assume
EPA‐HQ‐OW‐2018‐0640‐0429                                                                                      Public Hearing Materials    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0429
                                       Administration of CWA Section 404 Program
                                       10‐27‐2020 Virtual Public Hearing on FL's Request to Assume
EPA‐HQ‐OW‐2018‐0640‐0430                                                                                      Public Hearing Materials    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0430
                                       Administration of CWA Section 404 Program
                                       Comment submitted by Michelle Diffenderfer, President/Shareholder,
EPA‐HQ‐OW‐2018‐0640‐0431                                                                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0431
                                       Seminole Tribe of Florida (Seminole Tribe)
EPA‐HQ‐OW‐2018‐0640‐0431‐A1            Cover page                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0431
EPA‐HQ‐OW‐2018‐0640‐0431‐A2            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0431
                                       Comment submitted by Marco Rubio and Rick Scott, U.S. Senator,
EPA‐HQ‐OW‐2018‐0640‐0432                                                                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0432
                                       United States Senate
EPA‐HQ‐OW‐2018‐0640‐0432‐A1            Cover page                                                             Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0432
EPA‐HQ‐OW‐2018‐0640‐0432‐A2            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0432
EPA‐HQ‐OW‐2018‐0640‐0433               Anonymous public comment                                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0433
EPA‐HQ‐OW‐2018‐0640‐0433‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0433
EPA‐HQ‐OW‐2018‐0640‐0434               Comment submitted by B. O'Donnell                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0434
EPA‐HQ‐OW‐2018‐0640‐0434‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0434
EPA‐HQ‐OW‐2018‐0640‐0435               Comment submitted by B. Joanne                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0435
EPA‐HQ‐OW‐2018‐0640‐0435‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0435
EPA‐HQ‐OW‐2018‐0640‐0436               Comment submitted by C. Colburn                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0436
EPA‐HQ‐OW‐2018‐0640‐0436‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0436
EPA‐HQ‐OW‐2018‐0640‐0437               Comment submitted by D. Asoule                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0437
EPA‐HQ‐OW‐2018‐0640‐0437‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0437
EPA‐HQ‐OW‐2018‐0640‐0438               Comment submitted by G. Robbins                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0438
EPA‐HQ‐OW‐2018‐0640‐0438‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0438
EPA‐HQ‐OW‐2018‐0640‐0439               Comment submitted by J. Gardner                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0439
EPA‐HQ‐OW‐2018‐0640‐0439‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0439
EPA‐HQ‐OW‐2018‐0640‐0440               Comment submitted by G. Stilwell                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0440
EPA‐HQ‐OW‐2018‐0640‐0440‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0440
EPA‐HQ‐OW‐2018‐0640‐0441               Comment submitted by W. Newkumet                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0441
EPA‐HQ‐OW‐2018‐0640‐0441‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0441
EPA‐HQ‐OW‐2018‐0640‐0442               Comment submitted by R. Dunaif                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0442
EPA‐HQ‐OW‐2018‐0640‐0442‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0442
EPA‐HQ‐OW‐2018‐0640‐0443               Comment submitted by R. Thoman                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0443
EPA‐HQ‐OW‐2018‐0640‐0443‐A1            Comment                                                                Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0443
EPA‐HQ‐OW‐2018‐0640‐0444               Comment submitted by S. Gornto                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0444



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EPA‐HQ‐OW‐2018‐0640‐0445               Comment submitted by G. Mitchell                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0445
EPA‐HQ‐OW‐2018‐0640‐0445‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0445
EPA‐HQ‐OW‐2018‐0640‐0446               Comment submitted by M. Hill                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0446
EPA‐HQ‐OW‐2018‐0640‐0446‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0446
EPA‐HQ‐OW‐2018‐0640‐0447               Comment submitted by J. C. Blow                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0447
EPA‐HQ‐OW‐2018‐0640‐0447‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0447
EPA‐HQ‐OW‐2018‐0640‐0448               Comment submitted by J. and P. See                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0448
EPA‐HQ‐OW‐2018‐0640‐0448‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0448
EPA‐HQ‐OW‐2018‐0640‐0449               Comment submitted by J. Elmore                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0449
EPA‐HQ‐OW‐2018‐0640‐0449‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0449
EPA‐HQ‐OW‐2018‐0640‐0450               Comment submitted by J. Griffiths                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0450
EPA‐HQ‐OW‐2018‐0640‐0450‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0450
EPA‐HQ‐OW‐2018‐0640‐0451               Comment submitted by J. M. Gilmer                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0451
EPA‐HQ‐OW‐2018‐0640‐0451‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0451
EPA‐HQ‐OW‐2018‐0640‐0452               Comment submitted by J. Statts                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0452
EPA‐HQ‐OW‐2018‐0640‐0452‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0452
EPA‐HQ‐OW‐2018‐0640‐0453               Comment submitted by J. Erke and M. Fulton                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0453
EPA‐HQ‐OW‐2018‐0640‐0453‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0453
EPA‐HQ‐OW‐2018‐0640‐0454               Comment submitted by J. Lee                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0454
EPA‐HQ‐OW‐2018‐0640‐0454‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0454
EPA‐HQ‐OW‐2018‐0640‐0455               Comment submitted by B. Robert                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0455
EPA‐HQ‐OW‐2018‐0640‐0455‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0455
EPA‐HQ‐OW‐2018‐0640‐0456               Comment submitted J. Brantley                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0456
EPA‐HQ‐OW‐2018‐0640‐0456‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0456
EPA‐HQ‐OW‐2018‐0640‐0457               Comment submitted by J. Banks                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0457
EPA‐HQ‐OW‐2018‐0640‐0457‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0457
EPA‐HQ‐OW‐2018‐0640‐0458               Comment submitted by J. Mullen                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0458
EPA‐HQ‐OW‐2018‐0640‐0458‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0458
                                       Comment submitted by John K. Reed, Research Professor, Cooperative
EPA‐HQ‐OW‐2018‐0640‐0459               Institute of Ocean Research, Exploration and Technology, Harbor    Public Comment            https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0459
                                       Branch Oceanographic Institute, Florida Atlantic University
EPA‐HQ‐OW‐2018‐0640‐0459‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0459
EPA‐HQ‐OW‐2018‐0640‐0460               Comment submitted by J. Kedian                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0460
EPA‐HQ‐OW‐2018‐0640‐0460‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0460
EPA‐HQ‐OW‐2018‐0640‐0461               Comment submitted by L. and J. Wolaver                           Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0461
EPA‐HQ‐OW‐2018‐0640‐0461‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0461
EPA‐HQ‐OW‐2018‐0640‐0462               Comment submitted by J. C. Birdsall                              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0462
EPA‐HQ‐OW‐2018‐0640‐0462‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0462
EPA‐HQ‐OW‐2018‐0640‐0463               Comment submitted by M. Frandsen                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0463
EPA‐HQ‐OW‐2018‐0640‐0463‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0463
EPA‐HQ‐OW‐2018‐0640‐0464               Comment submitted by J. Coolidge                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0464
EPA‐HQ‐OW‐2018‐0640‐0464‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0464
EPA‐HQ‐OW‐2018‐0640‐0465               Comment submitted by J. Jung                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0465
EPA‐HQ‐OW‐2018‐0640‐0465‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0465
EPA‐HQ‐OW‐2018‐0640‐0466               Anonymous public comment                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0466
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EPA‐HQ‐OW‐2018‐0640‐0467               Comment submitted by K. Dorn                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0467
EPA‐HQ‐OW‐2018‐0640‐0467‐A1            Comment                                                          Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0467
EPA‐HQ‐OW‐2018‐0640‐0468               Comment submitted by K. St. Onge                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0468



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EPA‐HQ‐OW‐2018‐0640‐0469‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0469
EPA‐HQ‐OW‐2018‐0640‐0470               Comment submitted by J. Liakos                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0470
EPA‐HQ‐OW‐2018‐0640‐0470‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0470
EPA‐HQ‐OW‐2018‐0640‐0471               Comment submitted by L. Langston                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0471
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EPA‐HQ‐OW‐2018‐0640‐0472               Comment submitted by L. Neapolitan                              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0472
EPA‐HQ‐OW‐2018‐0640‐0472‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0472
EPA‐HQ‐OW‐2018‐0640‐0473               Comment submitted by L. Losi                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0473
EPA‐HQ‐OW‐2018‐0640‐0473‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0473
EPA‐HQ‐OW‐2018‐0640‐0474               Comment submitted by L. Malpass                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0474
EPA‐HQ‐OW‐2018‐0640‐0474‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0474
EPA‐HQ‐OW‐2018‐0640‐0475               Comment submitted by A. Sepri                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0475
EPA‐HQ‐OW‐2018‐0640‐0475‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0475
EPA‐HQ‐OW‐2018‐0640‐0476               Comment submitted by J. McBride                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0476
EPA‐HQ‐OW‐2018‐0640‐0476‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0476
EPA‐HQ‐OW‐2018‐0640‐0477               Comment submitted by M. Stephens                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0477
EPA‐HQ‐OW‐2018‐0640‐0477‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0477
EPA‐HQ‐OW‐2018‐0640‐0478               Comment submitted by P. Scott                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0478
EPA‐HQ‐OW‐2018‐0640‐0478‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0478
EPA‐HQ‐OW‐2018‐0640‐0479               Comment submitted by P. Scott                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0479
EPA‐HQ‐OW‐2018‐0640‐0479‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0479
EPA‐HQ‐OW‐2018‐0640‐0480               Comment submitted by R. Raymond                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0480
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EPA‐HQ‐OW‐2018‐0640‐0481               Comment submitted by A. W. Ondich                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0481
EPA‐HQ‐OW‐2018‐0640‐0481‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0481
EPA‐HQ‐OW‐2018‐0640‐0482               Comment submitted by L. Crockett                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0482
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EPA‐HQ‐OW‐2018‐0640‐0483               Comment submitted by L. Monzon                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0483
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EPA‐HQ‐OW‐2018‐0640‐0484               Comment submitted by N. Layton                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0484
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EPA‐HQ‐OW‐2018‐0640‐0485               Comment submitted by D. Lichtenstein                            Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0485
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EPA‐HQ‐OW‐2018‐0640‐0486               Comment submitted by L. Smithe                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0486
EPA‐HQ‐OW‐2018‐0640‐0486‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0486
EPA‐HQ‐OW‐2018‐0640‐0487               Comment submitted by L. T. Jones                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0487
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EPA‐HQ‐OW‐2018‐0640‐0488               Comment submitted by L. Brosius                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0488
EPA‐HQ‐OW‐2018‐0640‐0488‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0488
EPA‐HQ‐OW‐2018‐0640‐0489               Comment submitted by L. Bills                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0489
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EPA‐HQ‐OW‐2018‐0640‐0490               Comment submitted by D. Lockhart                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0490
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EPA‐HQ‐OW‐2018‐0640‐0491               Comment submitted by W. Lundell                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0491
EPA‐HQ‐OW‐2018‐0640‐0491‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0491
EPA‐HQ‐OW‐2018‐0640‐0492               Comment submitted by M. Fuller                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0492
EPA‐HQ‐OW‐2018‐0640‐0492‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0492
EPA‐HQ‐OW‐2018‐0640‐0493               Comment submitted by S. Markowitz                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0493
EPA‐HQ‐OW‐2018‐0640‐0493‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0493



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EPA‐HQ‐OW‐2018‐0640‐0494               Comment submitted by D. Halleran                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0494
EPA‐HQ‐OW‐2018‐0640‐0494‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0494
EPA‐HQ‐OW‐2018‐0640‐0495               Comment submitted by D. Martin                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0495
EPA‐HQ‐OW‐2018‐0640‐0495‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0495
EPA‐HQ‐OW‐2018‐0640‐0496               Comment submitted by E. A. Arabian                              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0496
EPA‐HQ‐OW‐2018‐0640‐0496‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0496
EPA‐HQ‐OW‐2018‐0640‐0497               Comment submitted by E. Jones                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0497
EPA‐HQ‐OW‐2018‐0640‐0497‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0497
EPA‐HQ‐OW‐2018‐0640‐0498               Comment submitted by M. Breckle                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0498
EPA‐HQ‐OW‐2018‐0640‐0498‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0498
EPA‐HQ‐OW‐2018‐0640‐0499               Comment submitted by M. Wikle                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0499
EPA‐HQ‐OW‐2018‐0640‐0499‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0499
EPA‐HQ‐OW‐2018‐0640‐0500               Anonymous public comment                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0500
EPA‐HQ‐OW‐2018‐0640‐0500‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0500
EPA‐HQ‐OW‐2018‐0640‐0501               Comment submitted by E. Brady                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0501
EPA‐HQ‐OW‐2018‐0640‐0501‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0501
EPA‐HQ‐OW‐2018‐0640‐0502               Comment submitted by E. Katz                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0502
EPA‐HQ‐OW‐2018‐0640‐0502‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0502
EPA‐HQ‐OW‐2018‐0640‐0503               Comment submitted by P. J. Hennig                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0503
EPA‐HQ‐OW‐2018‐0640‐0503‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0503
EPA‐HQ‐OW‐2018‐0640‐0504               Comment submitted by H. Fitz Gibbon                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0504
EPA‐HQ‐OW‐2018‐0640‐0504‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0504
EPA‐HQ‐OW‐2018‐0640‐0505               Comment submitted by B. Hunton                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0505
EPA‐HQ‐OW‐2018‐0640‐0505‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0505
EPA‐HQ‐OW‐2018‐0640‐0506               Comment submitted by I. Flynn                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0506
EPA‐HQ‐OW‐2018‐0640‐0506‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0506
EPA‐HQ‐OW‐2018‐0640‐0507               Comment submitted by J. Patten                                  Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0507
EPA‐HQ‐OW‐2018‐0640‐0507‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0507
EPA‐HQ‐OW‐2018‐0640‐0508               Comment submitted by J. Zynko                                   Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0508
EPA‐HQ‐OW‐2018‐0640‐0508‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0508
EPA‐HQ‐OW‐2018‐0640‐0509               Comment submitted by J. Chandler                                Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0509
EPA‐HQ‐OW‐2018‐0640‐0509‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0509
EPA‐HQ‐OW‐2018‐0640‐0510               Comment submitted by Jess C. (no surname provided)              Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0510
EPA‐HQ‐OW‐2018‐0640‐0510‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0510
EPA‐HQ‐OW‐2018‐0640‐0511               Comment submitted by J. Metzger                                 Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0511
EPA‐HQ‐OW‐2018‐0640‐0511‐A1            Comment                                                         Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0511
                                       Mass Comment Campaign sponsoring organization unknown. Sample
EPA‐HQ‐OW‐2018‐0640‐0512                                                                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0512
                                       attached (email)
EPA‐HQ‐OW‐2018‐0640‐0512‐A1            Mass Mail EA                                                    Sample Comment Email        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0512
                                       Mass Comment Campaign sponsoring organization unknown. Sample
EPA‐HQ‐OW‐2018‐0640‐0513                                                                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0513
                                       attached (email)
EPA‐HQ‐OW‐2018‐0640‐0513‐A1            Mass Mail EA                                                    Sample Comment Email        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0513
                                       Mass Comment Campaign sponsoring organization unknown. Sample
EPA‐HQ‐OW‐2018‐0640‐0514                                                                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0514
                                       attached (email)
EPA‐HQ‐OW‐2018‐0640‐0514‐A1            Mass Mail EA                                                    Sample Comment Email        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0514
                                       Mass Comment Campaign sponsoring organization unknown. Sample
EPA‐HQ‐OW‐2018‐0640‐0515                                                                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0515
                                       attached (email)
EPA‐HQ‐OW‐2018‐0640‐0515‐A1            Mas Mail EA                                                     Sample Comment Email        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0515
                                       Mass Comment Campaign sponsoring organization unknown. Sample
EPA‐HQ‐OW‐2018‐0640‐0516                                                                               Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0516
                                       attached (email)
EPA‐HQ‐OW‐2018‐0640‐0516‐A1            Mass Mail EA                                                    Sample Comment Email        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0516



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                                       Mass Comment Campaign sponsoring organization unknown. Sample
EPA‐HQ‐OW‐2018‐0640‐0517                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0517
                                       attached (email)
EPA‐HQ‐OW‐2018‐0640‐0517‐A1            Mass Mail EA                                                         Sample Comment Email        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0517
EPA‐HQ‐OW‐2018‐0640‐0518               Comment submitted by A. Dunham                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0518
EPA‐HQ‐OW‐2018‐0640‐0518‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0518
EPA‐HQ‐OW‐2018‐0640‐0519               Comment submitted by J. Thompson                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0519
EPA‐HQ‐OW‐2018‐0640‐0519‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0519
EPA‐HQ‐OW‐2018‐0640‐0520               Comment submitted by J. Debusk                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0520
EPA‐HQ‐OW‐2018‐0640‐0520‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0520
EPA‐HQ‐OW‐2018‐0640‐0521               Comment submitted by D. Kalvan                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0521
EPA‐HQ‐OW‐2018‐0640‐0521‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0521
EPA‐HQ‐OW‐2018‐0640‐0522               Comment submitted by L. Baldwin                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0522
EPA‐HQ‐OW‐2018‐0640‐0522‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0522
EPA‐HQ‐OW‐2018‐0640‐0523               Comment submitted by M. Bell                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0523
EPA‐HQ‐OW‐2018‐0640‐0523‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0523
EPA‐HQ‐OW‐2018‐0640‐0524               Comment submitted by B. Shepherd                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0524
EPA‐HQ‐OW‐2018‐0640‐0524‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0524
EPA‐HQ‐OW‐2018‐0640‐0525               Comment submitted by B. Buie                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0525
EPA‐HQ‐OW‐2018‐0640‐0525‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0525
EPA‐HQ‐OW‐2018‐0640‐0526               Comment submitted by B. Greggs                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0526
EPA‐HQ‐OW‐2018‐0640‐0526‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0526
                                       Comment submitted by Brian Brunhofer, Division President, Taylor
EPA‐HQ‐OW‐2018‐0640‐0527                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0527
                                       Morrison
EPA‐HQ‐OW‐2018‐0640‐0527‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0527
EPA‐HQ‐OW‐2018‐0640‐0528               Comment submitted by B. Cook                                         Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0528
EPA‐HQ‐OW‐2018‐0640‐0528‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0528
EPA‐HQ‐OW‐2018‐0640‐0529               Comment submitted by C. Marotta                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0529
EPA‐HQ‐OW‐2018‐0640‐0529‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0529
EPA‐HQ‐OW‐2018‐0640‐0530               Comment submitted by R. McCarthy                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0530
EPA‐HQ‐OW‐2018‐0640‐0530‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0530
                                       Comment submitted by Carrie Ludicke Adams, Chief Executive Officer
EPA‐HQ‐OW‐2018‐0640‐0531                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0531
                                       (CEO), Adams Media Group
EPA‐HQ‐OW‐2018‐0640‐0531‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0531
EPA‐HQ‐OW‐2018‐0640‐0532               Comment submitted by C. Mitchell                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0532
EPA‐HQ‐OW‐2018‐0640‐0532‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0532
EPA‐HQ‐OW‐2018‐0640‐0533               Anonymous public comment                                             Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0533
EPA‐HQ‐OW‐2018‐0640‐0533‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0533
EPA‐HQ‐OW‐2018‐0640‐0534               Comment submitted by J. McCluney                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0534
EPA‐HQ‐OW‐2018‐0640‐0534‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0534
EPA‐HQ‐OW‐2018‐0640‐0535               Comment submitted by C. Popkin                                       Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0535
EPA‐HQ‐OW‐2018‐0640‐0535‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0535
                                       Comment submitted by David J. White, Public Interest Environmental
EPA‐HQ‐OW‐2018‐0640‐0536                                                                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0536
                                       Law
EPA‐HQ‐OW‐2018‐0640‐0536‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0536
EPA‐HQ‐OW‐2018‐0640‐0537               Comment submitted by D. Green                                        Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0537
EPA‐HQ‐OW‐2018‐0640‐0537‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0537
EPA‐HQ‐OW‐2018‐0640‐0538               Comment submitted by D. R. Deevey                                    Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0538
EPA‐HQ‐OW‐2018‐0640‐0538‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0538
EPA‐HQ‐OW‐2018‐0640‐0539               Comment submitted by D. S. Green                                     Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0539
EPA‐HQ‐OW‐2018‐0640‐0539‐A1            Comment                                                              Public Comment Attachment   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0539
EPA‐HQ‐OW‐2018‐0640‐0540               Comment submitted by T. Butcher                                      Public Comment              https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0540



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EPA‐HQ‐OW‐2018‐0640‐0541               Comment submitted by P. Burke and L. Eads                            Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0541
EPA‐HQ‐OW‐2018‐0640‐0541‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0541
EPA‐HQ‐OW‐2018‐0640‐0542               Comment submitted by H. O. Stevenson                                 Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0542
EPA‐HQ‐OW‐2018‐0640‐0542‐A1            Comment                                                              Public Comment Copyrighted   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0542
                                       Comment submitted by Richard Baker, President, Pelican Island
EPA‐HQ‐OW‐2018‐0640‐0543                                                                                    Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0543
                                       Audubon Society
EPA‐HQ‐OW‐2018‐0640‐0543‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0543
EPA‐HQ‐OW‐2018‐0640‐0544               Comment submitted by J. Clausner                                     Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0544
EPA‐HQ‐OW‐2018‐0640‐0544‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0544
EPA‐HQ‐OW‐2018‐0640‐0545               Comment submitted by K. Freeman                                      Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0545
EPA‐HQ‐OW‐2018‐0640‐0545‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0545
EPA‐HQ‐OW‐2018‐0640‐0546               Comment submitted by Angela Krause, Pipe‐Tytes, Inc.                 Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0546
EPA‐HQ‐OW‐2018‐0640‐0546‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0546
EPA‐HQ‐OW‐2018‐0640‐0547               Comment submitted by G. Leathers                                     Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0547
EPA‐HQ‐OW‐2018‐0640‐0547‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0547
EPA‐HQ‐OW‐2018‐0640‐0548               Comment submitted by L. Souto                                        Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0548
EPA‐HQ‐OW‐2018‐0640‐0548‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0548
EPA‐HQ‐OW‐2018‐0640‐0549               Comment submitted by A. Record                                       Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0549
EPA‐HQ‐OW‐2018‐0640‐0549‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0549
EPA‐HQ‐OW‐2018‐0640‐0550               Comment submitted by R. Mayo                                         Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0550
EPA‐HQ‐OW‐2018‐0640‐0550‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0550
EPA‐HQ‐OW‐2018‐0640‐0551               Comment submitted by A. Fritz                                        Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0551
EPA‐HQ‐OW‐2018‐0640‐0551‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0551
                                       Comment submitted by Christian Wagley, Coastal Organizer, Florida‐
EPA‐HQ‐OW‐2018‐0640‐0552                                                                                    Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0552
                                       Alabama, Healthy Gulf
EPA‐HQ‐OW‐2018‐0640‐0552‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0552
EPA‐HQ‐OW‐2018‐0640‐0553               Comment submitted by J. Sparks                                       Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0553
EPA‐HQ‐OW‐2018‐0640‐0553‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0553
EPA‐HQ‐OW‐2018‐0640‐0554               Comment submitted by R. Jetton                                       Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0554
EPA‐HQ‐OW‐2018‐0640‐0554‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0554
EPA‐HQ‐OW‐2018‐0640‐0555               Comment submitted by J. H. Archdale                                  Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0555
EPA‐HQ‐OW‐2018‐0640‐0555‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0555
EPA‐HQ‐OW‐2018‐0640‐0556               Comment submitted by C. Smith                                        Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0556
EPA‐HQ‐OW‐2018‐0640‐0556‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0556
EPA‐HQ‐OW‐2018‐0640‐0557               Comment submitted by R. Hermann                                      Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0557
EPA‐HQ‐OW‐2018‐0640‐0557‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0557
EPA‐HQ‐OW‐2018‐0640‐0558               Comment submitted by R. Virnstein                                    Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0558
EPA‐HQ‐OW‐2018‐0640‐0558‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0558
EPA‐HQ‐OW‐2018‐0640‐0559               Comment submitted by S. Madden                                       Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0559
EPA‐HQ‐OW‐2018‐0640‐0559‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0559
EPA‐HQ‐OW‐2018‐0640‐0560               Comment submitted by S. Burnsed                                      Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0560
EPA‐HQ‐OW‐2018‐0640‐0560‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0560
EPA‐HQ‐OW‐2018‐0640‐0561               Comment submitted by S. Nielsen                                      Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0561
EPA‐HQ‐OW‐2018‐0640‐0561‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0561
EPA‐HQ‐OW‐2018‐0640‐0562               Comment submitted by G. Sherry                                       Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0562
EPA‐HQ‐OW‐2018‐0640‐0562‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0562
EPA‐HQ‐OW‐2018‐0640‐0563               Comment submitted by S. Parker                                       Public Comment               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0563
EPA‐HQ‐OW‐2018‐0640‐0563‐A1            Comment                                                              Public Comment Attachment    https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0563
EPA‐HQ‐OW‐2018‐0640‐0564               Approval of Florida's Clean Water Act Section 404 Assumption Request Federal Register Notice      https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0564




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Document ID                            Title                                                                    Type                       URL
                                       Action Memorandum from Jeaneanne Gettle (U.S. EPA) to Regional
EPA‐HQ‐OW‐2018‐0640‐0565                                                                                        Memorandum                 https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0565
                                       Administrator Mary Walker on Florida's Assumption Request
                                       December 17, 2020 Letter from Regional Administrator Mary Walker to
EPA‐HQ‐OW‐2018‐0640‐0566                                                                                    Letter                         https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0566
                                       Florida Governor Ron DeSantis on EPA's Approval of Florida's Program
                                       December 17, 2020 Letter from Regional Administrator Mary Walker to
EPA‐HQ‐OW‐2018‐0640‐0567               the Honorable R. D. James (Army) on EPA's Approval of Florida's     Letter                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0567
                                       Program
                                       Responsiveness Summary to Comments Received on Florida's
EPA‐HQ‐OW‐2018‐0640‐0568                                                                                   Comment Response                https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0568
                                       Assumption Request
                                       August 28, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the U.S.
EPA‐HQ‐OW‐2018‐0640‐0569               Army Corps of Engineers on EPA's Receipt of a Complete Package from Letter                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0569
                                       Florida
                                       November 24, 2020 Letter from Major General William Graham, Jr.
EPA‐HQ‐OW‐2018‐0640‐0570               (U.S. Army Corps of Engineers) to Jeaneanne Gettle (U.S. EPA) on    Letter                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0570
                                       Florida's Assumption Request
                                       December 17, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to Major
EPA‐HQ‐OW‐2018‐0640‐0571                                                                                   Letter                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0571
                                       General William Graham Jr. (U.S. Army Corps of Engineers)
                                       December 17, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to
EPA‐HQ‐OW‐2018‐0640‐0572                                                                                   Letter                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0572
                                       Regional Administrator Roy Crabtree (NOAA Fisheries Service)
                                       September 4, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to
EPA‐HQ‐OW‐2018‐0640‐0573                                                                                      Letter                       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0573
                                       Interested Parties Regarding the State of Florida's Assumption Request

EPA‐HQ‐OW‐2018‐0640‐0574               Florida Assumption Public Hearing Transcripts from October 27, 2020      Public Hearing Materials   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0574
                                       Florida Assumption Public Hearing Attendee List from October 27,
EPA‐HQ‐OW‐2018‐0640‐0575                                                                                        Public Hearing Materials   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0575
                                       2020
                                       August 28, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0576               Honorable Marcellus Osceola, Jr. (Seminole Tribe of Florida) on Tribal   Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0576
                                       Consultation on Florida's Assumption Request
                                       August 31, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0577               Honorable Billy Cypress (Miccosukee Tribe of Indians of Florida) on      Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0577
                                       Tribal consultation on Florida's Assumption Request
                                       August 31, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0578               Honorable Stephanie Bryan (Poarch Band of Creek Indians) on Tribal       Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0578
                                       Consultation on Florida's Assumption Request
                                       December 17, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0579               Honorable Stephanie Bryan (Poarch Band of Creek Indians) on EPA's        Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0579
                                       Approval of Florida's Request
                                       December 17, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0580               Honorable Billy Cyprus (Miccosukee Tribe of Indians of Florida) on       Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0580
                                       EPA's Approval of Florida's Request
                                       December 17, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0581               Honorable Marcellus Osceola, Jr. (Seminole Tribe of Florida) on EPA's    Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0581
                                       Approval of Florida's Request
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0582               Honorable Nita Battise (Alabama‐Coushatta Tribe of Texas) on             Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0582
                                       Consultation under NHPA
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0583               Honorable Stephanie Bryan (Poarch Band of Creek Indians) on              Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0583
                                       Consultation under NHPA



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Document ID                            Title                                                                 Type                       URL
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0584               Honorable Gary Batton (Choctaw Nation of Oklahoma) on Consultation Letter                        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0584
                                       under NHPA
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0585               Honorable Billy Cypress (Miccosukee Tribe of Indians of Florida) on   Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0585
                                       Consultation under NHPA
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0586               Honorable Cyrus Ben (Mississippi Band of Choctaw Indians) on          Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0586
                                       Consultation under NHPA
                                       September 2, 2020 Letter from Jeaneanne Gettle to the Honorable
EPA‐HQ‐OW‐2018‐0640‐0587               David Hill of the Muscogee (Creek) Nation on Consultation under the Letter                       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0587
                                       NHPA
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0588               Honorable David Sickey (Coushatta Tribe of Louisiana) on Consultation Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0588
                                       under NHPA
                                       Florida Assumption Public Hearing Attendee List from October 21,
EPA‐HQ‐OW‐2018‐0640‐0589                                                                                     Public Hearing Materials   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0589
                                       2020
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to Timothy
EPA‐HQ‐OW‐2018‐0640‐0590               Parsons (Florida State Historic Preservation Officer) on Consultation Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0590
                                       under NHPA
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to Reid
EPA‐HQ‐OW‐2018‐0640‐0591               Nelson (Advisory Council on Historic Preservation) on Consultation    Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0591
                                       under NHPA
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0592               Honorable Noah Valenstein (Florida Department of Environmental        Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0592
                                       Protection) on Consultation under NHPA
                                       December 16, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0593               Honorable David Hill of the Muscogee (Creek) Nation on EPA's          Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0593
                                       Response to NHPA Consultation Comments
                                       December 16, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0594               Honorable Stephanie Bryan (Poarch Band of Creek Indians) on EPA's     Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0594
                                       Response to NHPA Consultation Comments
                                       December 16, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to Reid
EPA‐HQ‐OW‐2018‐0640‐0595                                                                                     Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0595
                                       Nelson (Advisory Council on Historic Preservation) and Enclosure A
                                       October 19, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0596               Honorable Nita Battise (Alabama‐Coushatta Tribe of Texas) on          Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0596
                                       Consultation under NHPA
                                       October 19, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0597               Honorable Cyrus Ben (Mississippi Band of Choctaw Indians) on          Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0597
                                       Consultation under NHPA
                                       Notes from the September 28, 2020 Government‐to‐Government
EPA‐HQ‐OW‐2018‐0640‐0598                                                                                     Meeting Materials          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0598
                                       Consultation with the Seminole Tribe of Florida
                                       Notes from the October 8, 2020 Government‐to‐Government
EPA‐HQ‐OW‐2018‐0640‐0599                                                                                     Meeting Materials          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0599
                                       Consultation with the Miccosukee Tribe of Indians of Florida
                                       Notes from the December 3, 2020 Government‐to‐Government
EPA‐HQ‐OW‐2018‐0640‐0600                                                                                     Meeting Materials          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0600
                                       Consultation with the Miccosukee Tribe of Indians of Florida
                                       Notes from the October 15, 2020 NHPA Section 106 Consultation with
EPA‐HQ‐OW‐2018‐0640‐0601                                                                                     Meeting Materials          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0601
                                       the Muscogee Creek Nation
                                       Presentation for the Choctaw Nation of Oklahoma on NHPA Section
EPA‐HQ‐OW‐2018‐0640‐0602                                                                                     Meeting Materials          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0602
                                       106 Consultation




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EPA‐HQ‐OW‐2018‐0640‐0603               Florida Assumption Public Hearing Presentation from October 27, 2020 Public Hearing Materials      https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0603

EPA‐HQ‐OW‐2018‐0640‐0604               Florida Assumption Public Hearing Transcripts from October 21, 2020     Public Hearing Materials   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0604
                                       December 16, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0605               Honorable Gary Batton (Choctaw Nation of Oklahoma) on EPA's             Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0605
                                       Response to NHPA Consultation Comments
                                       EPA Responses to Comments from the National Historic Preservation
EPA‐HQ‐OW‐2018‐0640‐0606                                                                                      Comment Response            https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0606
                                       Act Section 106 Consulting Parties on Florida's Request for Assumption
                                       Response to Comments‐ Enclosure C to the December 16, 2020 Letter
EPA‐HQ‐OW‐2018‐0640‐0607               from Jeaneanne Gettle (U.S. EPA) to Reid Nelson (Advisory Council on    Comment Response           https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0607
                                       Historic Preservation)
                                       August 28, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to U.S. FWS
EPA‐HQ‐OW‐2018‐0640‐0608                                                                                       Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0608
                                       on EPA's Receipt of a Complete Package from Florida
                                       December 17, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to Robert
EPA‐HQ‐OW‐2018‐0640‐0609                                                                                       Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0609
                                       Tawes (U.S. FWS)
                                       December 9, 2020 Letter from Billy Cypress (Miccosukee Tribe of
EPA‐HQ‐OW‐2018‐0640‐0610                                                                                       Consultation Letter        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0610
                                       Indians of Florida) to Jeaneanne Gettle (U.S. EPA)
                                       December 7, 2020 Letter from Paul Backhouse (Seminole Tribe of
EPA‐HQ‐OW‐2018‐0640‐0611                                                                                       Consultation Letter        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0611
                                       Florida) to Jeaneanne Gettle (U.S. EPA) on Consultation under NHPA
                                       December 4, 2020 Letter from Reid Nelson (Advisory Council on
EPA‐HQ‐OW‐2018‐0640‐0612               Historic Preservation) to Jeaneanne Gettle (U.S. EPA) on Consultation   Consultation Letter        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0612
                                       under NHPA
                                       December 7, 2020 Letter from Jason Aldridge (Florida Department of
EPA‐HQ‐OW‐2018‐0640‐0613                                                                                       Consultation Letter        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0613
                                       State) to Jeaneanne Gettle (U.S. EPA) on Consultation under NHPA
                                       December 7, 2020 Letter from Larry Haikey (Poarch Band of Creek
EPA‐HQ‐OW‐2018‐0640‐0614                                                                                      Consultation Letter             https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0614
                                       Indians) to Jeaneanne Gettle (U.S. EPA)
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to
EPA‐HQ‐OW‐2018‐0640‐0615                                                                                      Letter                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0615
                                       Leopoldo Miranda (U.S. FWS) on ESA's Section 7 Consultation
                                       November 19, 2020 Letter from Robert Tawes (USFWS) to Jeaneanne
EPA‐HQ‐OW‐2018‐0640‐0616                                                                                      Letter                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0616
                                       Gettle (U.S. EPA) Transmitting the Biological Opinion
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to Regional
EPA‐HQ‐OW‐2018‐0640‐0617               Administrator Roy Crabtree (NOAA Fisheries Service) on EPA's Section Letter                            https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0617
                                       7 Consultation
                                       October 30, 2020 Letter from Assistant Regional Administrator Virginia
EPA‐HQ‐OW‐2018‐0640‐0618               Fay (NOAA National Marine Fisheries Service) to Jeaneanne Gettle (U.S. Letter                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0618
                                       EPA)
EPA‐HQ‐OW‐2018‐0640‐0619               September 22, 2020 NHPA Consultation Overview Presentation             Meeting Materials               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0619
                                       Notes From The October 7, 2020 Government‐to‐Government
EPA‐HQ‐OW‐2018‐0640‐0620                                                                                      Meeting Materials               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0620
                                       Consultation With The Poarch Band of Creek Indians
                                       Notes From The October 30, 2020 Government‐to‐Government
EPA‐HQ‐OW‐2018‐0640‐0621                                                                                      Meeting Materials               https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0621
                                       Consultation With The Poarch Band of Creek Indians
                                       December 16, 2020 Memo To The File On The Magnuson‐Stevens
EPA‐HQ‐OW‐2018‐0640‐0622                                                                                      Memorandum                      https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0622
                                       Fishery Conservation And Management Act
                                       USFWS Biological Opinion Appendix 2‐ Memorandum of
EPA‐HQ‐OW‐2018‐0640‐0623                                                                                      Publication‐ Other Governmental https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0623
                                       Understanding




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                                       Ketterer, Amber L. and Suarez‐Rivas, Rafael E. 2015. The Bert J. Harris,
                                       Jr., Private Property Rights Protection Act: An Overview, Recent         Publication‐ Copyrighted
EPA‐HQ‐OW‐2018‐0640‐0624                                                                                                                   https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0624
                                       Developments, and What the Future May Hold. The Florida Bar              Materials
                                       Journal, Vol. 89, No. 8., Page 49
                                       August 28, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to NOAA
EPA‐HQ‐OW‐2018‐0640‐0625                                                                                        Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0625
                                       Fisheries on EPA's Receipt of a Complete Package from Florida
                                       September 2, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0626               Honorable Marcellus Osceola, Jr. (Seminole Tribe of Florida) on          Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0626
                                       Consultation under NHPA
                                       December 16, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0627               Honorable Billy Cypress (Miccosukee Tribe of Indians of Florida) on      Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0627
                                       EPA's Response to NHPA Consultation Comments
                                       December 16, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0628               Honorable Marcellus Osceola, Jr. (Seminole Tribe of Florida) on EPA's Letter                        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0628
                                       Responses to NHPA Consultation Comments
                                       December 16, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to
EPA‐HQ‐OW‐2018‐0640‐0629               Timothy Parsons (Florida State Historic Preservation Officer) on EPA's Letter                       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0629
                                       Response to NHPA Consultation Comments
                                       December 16, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0630               Honorable Noah Valenstein (Florida Department of Environmental           Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0630
                                       Protection) on EPA's Response to NHPA Consultation Comments
                                       December 15, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to Jeanine
EPA‐HQ‐OW‐2018‐0640‐0631                                                                                        Letter                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0631
                                       Bennett (Miccosukee Tribe of Indians of Florida)
EPA‐HQ‐OW‐2018‐0640‐0632               Florida Assumption Public Hearing Presentation from October 21, 2020 Public Hearing Materials       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0632
                                       October 19, 2020 Letter from Jeaneanne Gettle (U.S. EPA) to the
EPA‐HQ‐OW‐2018‐0640‐0633                                                                                    Letter                         https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0633
                                       Honorable David Sickey on Consultation under NHPA
                                       December 13, 2019 Letter from David Ross (U.S. EPA) to NOAA and the
EPA‐HQ‐OW‐2018‐0640‐0635                                                                                    Letter                         https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0635
                                       U.S. FWS on FDEP's Non‐Federal Representative Designation
                                       December 12, 2019 Letter from Regional Administrator Mary Walker
                                       (U.S. EPA) to the Honorable Noah Valenstein (Florida Department of
EPA‐HQ‐OW‐2018‐0640‐0636                                                                                    Letter                         https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0636
                                       Environmental Protection) on Florida's Non‐Federal Representative
                                       Designation
                                       Federal Register Notice: Request for Comment on Whether EPA's
                                       Approval of a Clean Water Act Section 404 Program Is Non‐
EPA‐HQ‐OW‐2018‐0640‐0637                                                                                    Federal Register Notice        https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0637
                                       Discretionary for Purposes of Endangered Species Act Section 7
                                       Consultation
                                       April 15, 2020 Letter from Cathryn Tortorici (NOAA National Marine
EPA‐HQ‐OW‐2018‐0640‐0638               Fisheries Service) to Heather Mason (Florida Department of           Letter                         https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0638
                                       Environmental Protection)
EPA‐HQ‐OW‐2018‐0640‐0639               Programmatic Agreement under NHPA Section 106                        Agreement                      https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0639
                                       December 16, 2020 Memo to the File on the Coastal Zone
EPA‐HQ‐OW‐2018‐0640‐0640                                                                                    Memorandum                     https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0640
                                       Management Act
                                       August 28, 2020 Letter from Regional Administrator Mary Walker (U.S.
EPA‐HQ‐OW‐2018‐0640‐0641               EPA) to Florida Governor Ron DeSantis on EPA's Completeness          Letter                         https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0641
                                       Determination for Florida's Assumption Request
                                       Programmatic Biological Opinion from the U.S. FWS for EPA's Approval
EPA‐HQ‐OW‐2018‐0640‐0642               of FDEP's Assumption of the Administration of the Dredge and Fill    Publication‐ Other Governmental https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0642
                                       Permitting Program under Section 404 of the Clean Water Act




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                                       September 4, 25 and 30, 2020 Email Communications between EPA
EPA‐HQ‐OW‐2018‐0640‐0643                                                                                     Email                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0643
                                       and ACHP under NHPA
                                       October 27, 2020 email from Kelly Laycock to the Florida
EPA‐HQ‐OW‐2018‐0640‐0644                                                                                     Email                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0644
                                       Anthropological Society
                                       October 27, 2020 email from Kelly Laycock to the Florida
EPA‐HQ‐OW‐2018‐0640‐0645                                                                                     Email                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0645
                                       Archaeological Council
                                       October 27, 2020 email from Kelly Laycock to the Florida Trust for
EPA‐HQ‐OW‐2018‐0640‐0646                                                                                     Email                          https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0646
                                       Historic Preservation
                                       Signed Programmatic Agreement‐ Enclosure B to the December 16,
EPA‐HQ‐OW‐2018‐0640‐0648               2020 Letter from Jeaneanne Gettle (U.S. EPA) to Reid Nelson (Advisory Agreement                      https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0648
                                       Council on Historic Preservation)
EPA‐HQ‐OW‐2018‐0640‐0649               USFWS Biological Opinion Appendix 1‐ EPA's Biological Evaluation       Publication‐ Other Governmental https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0649
                                       Comment submitted by Rachel Silverstein, Miami Waterkeeper and
EPA‐HQ‐OW‐2018‐0640‐0650                                                                                      Public Comment                  https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0650
                                       Lisa Rinaman, St. Johns Riverkeeper
EPA‐HQ‐OW‐2018‐0640‐0650‐A1            Comment                                                                Public Comment Attachment       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0650
EPA‐HQ‐OW‐2018‐0640‐0651               Comment submitted by B. Dees                                           Public Comment                  https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0651
EPA‐HQ‐OW‐2018‐0640‐0651‐A1            Comment                                                                Public Comment Attachment       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0651
EPA‐HQ‐OW‐2018‐0640‐0652               Comment submitted by G. Soto                                           Public Comment                  https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0652
EPA‐HQ‐OW‐2018‐0640‐0652‐A1            Comment                                                                Public Comment Attachment       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0652
EPA‐HQ‐OW‐2018‐0640‐0653               Comment submitted by J. Zuzack                                         Public Comment                  https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0653
EPA‐HQ‐OW‐2018‐0640‐0653‐A1            Comment                                                                Public Comment Attachment       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0653
EPA‐HQ‐OW‐2018‐0640‐0654               Comment submitted by J. McCluney                                       Public Comment                  https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0654
EPA‐HQ‐OW‐2018‐0640‐0654‐A1            Comment                                                                Public Comment Attachment       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0654
EPA‐HQ‐OW‐2018‐0640‐0655               Comment submitted by K. Booth                                          Public Comment                  https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0655
EPA‐HQ‐OW‐2018‐0640‐0655‐A1            Comment                                                                Public Comment Attachment       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0655
EPA‐HQ‐OW‐2018‐0640‐0656               Comment submitted by L. Williams                                       Public Comment                  https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0656
EPA‐HQ‐OW‐2018‐0640‐0656‐A1            Comment                                                                Public Comment Attachment       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0656
EPA‐HQ‐OW‐2018‐0640‐0657               Comment submitted by P. Holland                                        Public Comment                  https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0657
EPA‐HQ‐OW‐2018‐0640‐0657‐A1            Comment                                                                Public Comment Attachment       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0657
EPA‐HQ‐OW‐2018‐0640‐0658               Comment submitted by T. Bachmann                                       Public Comment                  https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0658
EPA‐HQ‐OW‐2018‐0640‐0658‐A1            Comment                                                                Public Comment Attachment       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0658
                                       August 27, 2020 Memorandum from David Ross (U.S. EPA) to Mary
                                       Walker (U.S. EPA R4) on Consultation Requirements under the
EPA‐HQ‐OW‐2018‐0640‐0660                                                                                      Memorandum                      https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0660
                                       Endangered Species Act for State and Tribal Clean Water Act Section
                                       404 Program Approvals
                                       August 27, 2020 Memorandum on Endangered Species Act Section
EPA‐HQ‐OW‐2018‐0640‐0660‐A1            7(a)(2) Consultation for State and Tribal Clean Water Act Section 404 Memorandum                       https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0660
                                       Program Approvals
                                       May 10, 2017 NACEPT Assumable Waters Subcommittee Final
EPA‐HQ‐OW‐2018‐0640‐0661                                                                                      Publication‐ Other Governmental https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0661
                                       Report
                                       July 30, 2018 Memorandum from R.D. James (Assistant Secretary of
EPA‐HQ‐OW‐2018‐0640‐0662                                                                                      Memorandum                      https://www.regulations.gov/document?D=EPA‐HQ‐OW‐2018‐0640‐0662
                                       the Army, Civil Works) on Assumable Waters
                                       September 3, 4, 2020 Email Response from NMFS Regarding ESA No
EPA‐HQ‐OW‐2018‐0640‐0663                                                                                      Email                           https://www.regulations.gov/document/EPA‐HQ‐OW‐2018‐0640‐0663
                                       Effect Letter
                                       December 20, 2021 Letter from Jeaneanne M Gettle (U.S.EPA) to Tania
EPA‐HQ‐OW‐2018‐0640‐0664               Galloni (EarthJustice) responding to a March 31, 2021 Notice of Intent Letter                          https://www.regulations.gov/document/EPA‐HQ‐OW‐2018‐0640‐0664
                                       to Sue




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